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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
 ____________________________________
                                      :
 CHARLES HENDRIX, SR.,                :   Civil Action No. 06-3942 (FLW)
                                      :
             Plaintiff,               :
                                      :             ORDER
       v.                             :
                                      :
 CITY OF TRENTON, et al.,             :
                                      :
             Defendants.              :
                                      :

        THIS MATTER having been opened to the Court by Hanan Isaacs, Esq., counsel for

 Gregg L. Zeff, Esq., on a motion to deposit funds; it appearing that Plaintiff Charles Hendrix, Sr.

 (“Hendrix”), through his counsel Mark B. Frost, Esq., opposes the motion; it appearing that this

 case was settled on April 6, 2010, and the settlement proceeds were distributed to Mr. Hendrix’s

 then-attorney, Mr. Zeff; it appearing that a dispute arose regarding whether there exists a

 medicaid lien against Mr. Hendrix for unpaid medical benefits; it appearing that, consequently,

 Mr. Zeff refused to distribute the remaining settlement funds to Mr. Hendrix based upon his

 obligations under the law to pay the lien, and therefore, Mr. Zeff, on this motion, seeks to deposit

 the funds into the Court’s registry; it appearing that due to personal reasons, Mr. Hendrix needs

 immediate access to these funds; it appearing that the Court held a hearing on the motion on

 September 16, 2010; it appearing that in order to ascertain whether there is a medicaid lien

 against Mr. Hendrix, the Court contacted New Jersey’s Division of Medical Assistance and

 Health Services (the “Division”) and spoke with Ms. Dawn O’Neil, who responded to the

 Court’s request regarding Hendrix’s medicaid file; it appearing that Ms. O’Neil orally confirmed
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 to the Court that the State does not have any claims or liens against Mr. Hendrix, and that she

 will send written confirmation of the same to Mr. Zeff; accordingly,

        IT IS on this 21st day of September, 2010,

        ORDERED that the motion to deposit funds is denied as moot; it is further

        ORDERED that Mr. Zeff shall release any and all remaining settlement funds to Mr.

        Hendrix forthwith.




                                                          /s/ Freda L. Wolfson
                                                        The Honorable Freda L. Wolfson
                                                        United States District Judge




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